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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of New York

 

Plaintiff
v.
In re: New York City Policing During Summer 2020
Demonstrations

Defendant

Civil Action No, 20-CV-8924 (CM) (GWG)

 

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Sean Smoot
. ~[llinois Police Benevolent & Protective Association, 840 Spring Street Suite-A, Springfield IL 62704:

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stoted information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
See attached rider.

 

Place: Kaufman Lieb Lebowitz & Frick LLP Date and Time:
10 East 40th Street, Suite 3307 .
New York, NY 10018 06/30/2021 12:00 pm

 

 

 

 

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

| Place: Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance; |
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR | We f [4
vi

 

 

Signature of Clerk or Deputy Clerk Attorney’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff
Charles Henry Wood , , who issues or requests this subpoena, are:

 

Douglas E. Lieb, 10 East 40th Street, Suite 3307, New York NY 10016, (212) 660-2332, dlieb@klilflaw.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

 
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No, 20-CV-8924 (CM) (GWG)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Ciy. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

C] I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) > or

 

CI] I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ ceveenneaenerinnrnne

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

   

 

eo 3 . et
Skever' signature

SOHN J PENWELL

 

 

Printed name and title

Illinois Process Servers
40 Hickory Point
opringfield, IL 62712

 

Server’s address

Additional information regarding attempted service, etc.:

 
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(ec) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

() Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction-—which may include
lost earnings and reasonable attorney’s fees——-on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises-—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(3) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.

Ifa subpoena does not specify a form for producing electronically stored... --

information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe thie nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, sce Fed. R. Civ. P. 45(a) Committee Note (2013),

 

 

 
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RIDER TO SUBPOENA FOR PRODUCTION OF DOCUMENTS TO SEAN SMOOT
DEFINITIONS
1. This subpoena hereby incorporates by reference the Uniform Definitions in
Discovery Requests set out in Rule 26.3(c) of the Local Civil Rules of the United States District
Court for the Southern and Eastern Districts of New York (the “Local Rules”).
2. “Corporation Counsel Report” refers to the Corporation Counsel Report Pursuant
to Executive Order 58 (June 20, 2020) Directing an Analysis of Factors Impacting George Floyd

Protests in New York City, publicly released by the New York City Law Department on or about

 

December 30, 2020, and publicly available at https://www 1 nyc. gov/assets/law/downloads
/pdt/ProtestReport-np.pdf.

3. “Corporation Counsel Investigation” refers to any and all work performed by the
New York City Law Department, its designees, its agents, and/or any outside consultants
assisting or contributing to its work in response to Executive Order 58 of June 20, 2020,
culminating in the issuance of the Corporation Counsel Report. The Corporation Counsel
Investigation includes, but is not limited to, these actions described on page | of the Corporation
Counsel Report, such as: (a) the “review” of a “broad range” of Documents or other “materials”;
(b) “conversations” with police officials and other persons; and (c) “consult[ation] with third-
party subject matter experts.”

4. “Document(s)” shall have the full meaning ascribed to it in Rule 34 of the Federal
Rules of Civil Procedure and Local Civil Rule 26.3(c), and for purposes of these Requests shall
be deemed to include “electronically stored information” (“ESI”) as also defined in Rule
34. Examples of documents include, but are not limited to, all writings in any form, calendars,

correspondence, diaries, manuals, memoranda, notes, log entries, reports, records, drawings,

 

 
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graphs, charts, photographs, sound recordings, images, video recordings, telephone records,
electronic mail messages, telephonic text messages (including SMS and MMS, iMessages,
WhatsApp messages and all instant messages sent and received by whatever means or platform),
spreadsheets, databases, all other forms of electronic communication, and other data or data
compilations of whatever nature stored in any medium (including those from which information
can be obtained or translated if necessary into a reasonably useable form). For the avoidance of
doubt, document(s) shall include all originals of any nature whatsoever and all non-identical
copies thereof, whether different from the originals by reason of any notation made on such
copies or otherwise.
INSTRUCTIONS

1. In addition to following the rules of construction in Rule 26.3(d) of the Local
Civil Rules, whenever necessary to bring within the scope of any commend to produce
Documents that might otherwise be construed to be outside its scope: (a) the use of a verb in any
tense shall be construed as the use of that verb in all other tenses; and (b) the use of the feminine,
masculine, or neuter genders shall include all genders.

2, All Documents shall be produced in the manner in which they are maintained in
the usual course of business. A command to produce a Document shall be deemed to include a
request for any and all file folders or binders within which the Document was contained,
transmittal sheets, cover letters, exhibits, enclosures, or attachments to the Document in addition
to the Document itself.

3. Provide all ESI in the forms and manner specified in the attached Schedule

A - ESI Production Specifications.

 
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4. In the event you withhold any Document called for by any commend to produce
on the basis of a claim of privilege, provide a privilege log the information required by Rule 26.2
of the Local Civil Rules.

COMMAND TO PRODUCE

Produce, to the extent within your possession, custody or control:

1. All Documents provided to you by the New York City Law Department in
connection with the work performed by you on the Corporation Counsel Investigation and/or
Corporation Counsel Report.

2. All Documents provided to you by the New York City Police Department in
connection with the work performed by you on the Corporation Counsel Investigation and/or
Corporation Counsel Report.

3. All communications between you and any employee of the New York City Law
Department concerning the Corporation Counsel Investigation and/or Corporation Counsel
Report.

4, All communications between you and any employee of the New York City Police
Department concerning the Corporation Counsel Investigation and/or Corporation Counsel
Report.

5. All Documents reflecting any revisions, comments, suggestions, edits, proposed
changes, or other feedback provided by you to the New York City Law Department on the

Corporation Counsel Report.

 

 
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SCHEDULE A ~ ESI PRODUCTION SPECIFICATIONS
FILE FORMATS
lL. Each document shall be provided with all of its attachments with family
relationships indicated using the BegBatesAttach and EndBatesAttach metadata fields described

in 4.1 below. Delivery should be via secure file transfer to the following email

addresses: travis.england@ag.ny.gov.

2. All documents shall be produced by custodian.

3. All documents shall be produced in standard single-page Group [V TIFF format

(or, with respect to documents containing responsive information that is only coherently
viewable in color, JPG format), except that the following shall be produced in native format: (a)
any audio, audiovisual, video, and any other file that is unreadable or has limited accessibility in
the Group IV TIFF format; (b) Microsoft Excel files and other spreadsheets; and (c)

Powerpoint files.

4. Documents produced in TIFF format shall be produced with Bates numbers
stamped on each page. Bates numbers shall be of constant length, be sequential across a
document and its attachments, be unique across the entire production, and contain no special
characters except dashes.

5. Any native files that are produced shall also be produced with a one-page Bates-
numbered TIFF image slip-sheet stating “Document has been produced in native format.”

6. You shall make reasonable efforts to ensure that documents produced in TIFF

format are readable.
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7. You shall make reasonable efforts to process fully all documents for
production. For any documents not fully processed, produce a TIFF image with the reason the
document was not processed.

8. A Concordance-compatible load file and image load file (1.e., DAT and OPT load
files) shall be included.

9, Any redactions applied to documents shall contain text indicating the basis for
redaction (e.g., “Privileged”).
EXTRACTED TEXT

10. ~ For each document, provide a text file containing the text extracted directly from

the native electronic version of that document, unless the document was redacted, is an image
file, is a scanned hardcopy document, or is in another format from which text cannot be
reasonably extracted. In these instances, provide a text file created using optical character
recognition (OCR) to the extent reasonably practicable.

ll. The text file name containing the extracted or OCR text should be named with
the BegBates number of the document.
DEDUPLICATION

12. A document is an exact duplicate of another document only if it and all its family
members have the same MD5 or SHA-1 hash values as the other document and its family
members.

13. If a document and its exact duplicates are associated with the same custodian, you

shall withhold the exact duplicates from production.

 
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14. Ifa document and its exact duplicates are associated with different

custodians, you shall withhold the exact duplicates from production and provide a metadata field

for the produced document indicating the custodians for whom duplicates were withheld.

METADATA

15. For each document, provide the metadata specified below, to the extent they can

reasonably be extracted or otherwise provided, in a delimited text file.

 

Metadata Field

 

Description ~~

| Examples

 

Production Metadata Fields for All Documents

 

BegBates

Bates number for the first page of the
document

[Bates Prefix]-00000001

 

EndBates

Bates number for the last page of the
document

[Bates Prefix]-00000010

 

BegBatesAtt

Bates number for the first page of the
parent document (i.e., an email or
other document containing
attachments)

[Bates Prefix]-00000001

 

EndBatesAtt

Bates number of the last page of the
last attachment to the parent document

[Bates Prefix]-00000015

 

Custodians All

Name of the custodian or custodians ~~”

who possessed this item or exact
duplicates thereof.

Jones, Barbara ©

 

 

 

 

 

in KB

 

RecordType Type of item being produced Email, Email Attachment,
Electronic Document,
Hardcopy Document
FilePath Original location of the file when C:\My Documents\Deal
collected from the source custodian or | Documents
system
FileSize Size of the native file document/email 3,547

 

 

 
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Prod_Native

File path to the native file on the
production media if applicable (a.k.a.
production file path)

PrefixO01\NATIVES\000\
Prefix00000001.msg

 

 

 

 

 

Prod_Text File path to the extracted text file on Prefix001I\TEXT\000\
the production media Prefix00000001.msg
MD5Hash The MDS hash value for the item
SHA] Hash The SHA-1 hash value for the item
Designation The confidentiality designation of the Confidential, Highly
| document, if any Confidential oe
Redaction For documerits containing redactions, Privileged, Personal,

the basis for such redactions

Proprietary

 

Additional Document

Metadata Fields for Electronic Docume

nts and Attachments

 

Original name of the file when

 

 

 

 

 

 

 

 

 

FileName exampledoc.doc, file.xls
collected from the source custodian or
system
FileExt File type extension of native file xls, doc, ppt, mp3
FileType File type or application used to create Excel, Word, PowerPoint,
the underlying native file MP3
Title Title of the document Purchase Agreement
Author Author of the document Barbara Jones
TimeZone The time zone in which electronic GMT
documents were standardized during
conversion.
MasterDate For emails and their attachments, the MM/DD/YYYY
sent date of the parent email
MasterTime For emails and their attachments, the HH:MM:SS
sent time of the parent email, using a
24-hour clock
DateCreated Date the item was created MM/DD/YYYY

 

 

 

 
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TimeCreated Time the item was created, using a24- | HH:MM:SS
hour clock

DateLastModified Date the item was last modified MM/DD/YYYY

TimeLastModified Time the item was last modified, using | HH:MM:SS

 

a 24-hour clock

 

 

Additional Document Metadata Fields

for Email and Other Electronic

 

 

 

 

 

 

 

 

 

 

Communications
DateSent Date the email message was sent, MM/DD/YYYY
using a 24-hour clock
TimeSent Time the email message was sent, HH:MM:SS '
using a 24-hour clock
Date Received Date the email message was received, MM/DD/YYYY
using a 24-hour clock, in Greenwich
Mean Time (GMT)
TimeReceived Time the email message was received, | HH:MM:SS
using a 24-hour clock
To Addressee(s) of the email message Barbara Jones
barbarajones@co.com
From Name and email address of the person | Barbara Jones
who sent the email message barbarajones@co.com
CC Recipient(s) included in the “cc” line Barbara Jones
of the email message barbarajones@co.com
BCC Recipient(s) included in the “bec” line Barbara Jones
of the email message barbarajones@co.com
Subject Subject line of the email message FW: your message
EmailPath The original location of email Personal Folders\Sent

Items\

 

 

Conversation Index

 

A field indicating whether an email
Message is part of a conversation
thread with other email messages,

 

 

 

 
